       Case 12-17632-sr        Doc 30      Filed 10/31/12 Entered 11/01/12 16:36:23             Desc Main
                                            Document     Page 1 of 1
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In

12-17632-SR         RHONDA LANCASTER                              Chapter 13



                   Debtor(s)

                                                  ORDER

                   AND NOW, to wit, this 31ST day of              OCTOBER                2012, it is

 I.*(X ) ORDERED that since we find that the debtor(s) have failed to pay the fee in full within the requisite
time period, this case, be, and the same hereby is, DISMISSED.

2.*( ) ORDERED that since we find that the debtor(s)' have failed to propose a plan, this case be, and the
same hereby is, DISMISSED

3.*( ) ORDERED that sine we find that the debtor(s) have failed to file a feasible plan, this case be and
the same hereby is, DISMISSED.

4.*( ) ORDERED that since we find that the debtor(s) have failed to attend the hearing mandated under
11 U.S.C. Sec.341 and have failed to attend the hearing to explain their absence at the Sec. 341 hearing, this
case be and the same hereby is, DISMISSED.

5.*( ) ORDERED that since the debtor(s) have failed to prosecute this case or to file timely their required
documents, this case be, and the same hereby is, DISMISSED, and within ten days of the entry of this order,
debtor's counsel shall submit a master list of creditors and, as required by Bankruptcy Rule 2016 (b), an
itemized statement of attorney's fees unless current versions of both these documents are on file with the
Clerk.

6.*( ) ORDERED that since we find material failure to comply with the terms of a confirmed plan under
11 U.S.C. Sec. 1307 (c)(6) this case be, and the same hereby is, DISMISSED.

7.*() ORDERED that since the debtor(s) have failed to ameri^,.egfQn documents or certify service of the
requisite documents as directed by the Chapter 7 ^^isje<^ti:^gcase/be and the same hereby is, DISMISSED.


                                                       Stephen Raslavich
                                                       Chief United States Bankruptcy Judge


* Each numbered paragraph of this order is operative only if the box next to the number designating that
paragraph is checked.
